                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                              Plaintiff,

       v.                                                    Case No. 18-CR-62

BRIAN L. GANOS,
MARK F. SPINDLER,
SONAG COMPANY, INC., and
NUVO CONSTRUCTION COMPANY, INC.,

                              Defendants.


       UNITED STATES’ MOTION TO QUASH SUBPOENAS DUCES TECUM


       The United States of America, by United States Attorney Matthew D. Krueger and

Assistant United States Attorney Zachary Corey, hereby moves the Court pursuant to Federal

Criminal Rule of Procedure 17(c)(2) to quash the subpoenas duces tecum served by Sonag

Company, Inc. on the Wisconsin Department of Transportation and the Wisconsin Elections

Commission. The State of Wisconsin has separately moved to quash the subpoenas. See Doc. 53.

The United States hereby joins the State’s motion. In support of this motion and the State’s motion,

the United States is filing a memorandum together with this filing.

       Respectfully submitted this 6th day of September, 2018.


                                              s/ Matthew D. Krueger
                                              MATTHEW D. KRUEGER
                                              United States Attorney
                                              ZACHARY COREY
                                              Assistant United States Attorney
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                                              Eastern District of Wisconsin




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